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 UNITED STATES DISTRICT COURT                                EASTERN DISTRICT OF TEXAS


 UNITED STATES OF AMERICA                         §
                                                  §
 versus                                           §           CASE NO. 1:13-CR-69
                                                  §
 FRANCISCO BAEZA-LOZANO                           §

          ORDER ADOPTING UNITED STATES MAGISTRATE JUDGE’S REPORT

          On this day, the court considered the Findings of Fact and Recommendation of United

 States Magistrate Judge Zack Hawthorn regarding the Defendant’s plea of guilty to Count Five

 of the First Superseding Indictment in the above-numbered case. Having conducted a proceeding

 in the form and manner prescribed by Fed. R. Crim. P. 11, the Magistrate Judge recommends that

 the court accept the guilty plea of the Defendant. The court is of the opinion that the Findings of

 Fact and Recommendation should be accepted.

          It is accordingly ORDERED that the Findings of Fact and Recommendation of the United

 States Magistrate Judge are ADOPTED.

          It is further ORDERED that the Defendant’s guilty plea and the plea agreement are

 ACCEPTED by the court.

          It is finally ORDERED that the court finds the Defendant guilty on Count Five of the First

 Superseding
         . Indictment.
         SIGNED at Beaumont, Texas, this 7th day of September, 2004.
           SIGNED at Beaumont, Texas, this 14th day of February, 2014.




                                             ________________________________________
                                                         MARCIA A. CRONE
                                                  UNITED STATES DISTRICT JUDGE
